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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


  PENNY R. JOHNSON,                                  )
                                                     )
                       Plaintiff,                    )
                                                     )   Case No. 22-cv-03491
        v.                                           )
                                                     )
                                                         Judge Joan B. Gottschall
  HEALTH CARE SERVICE                                )
  CORPORATION dba BLUE CROSS BLUE                    )   Magistrate Judge Heather K.
  SHIELD OF ILLINOIS,                                )   McShain
                                                     )
                       Defendant.                    )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Penny R. Johnson (“Plaintiff” or “Johnson”) and Defendant Health Care Service

Corporation d/b/a Blue Cross Blue Shield of Illinois (“Defendant” or “HCSC”), by and through

their undersigned counsel and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

hereby stipulate to the dismissal of this lawsuit with prejudice, with each party to bear its own

attorney’s fees and costs.

Penny R. Johnson                                Health Care Service Corporation d/b/a Blue
                                                Cross Blue Shield of Illinois

By: /s/Nathan Volheim (per
11/4/2022 email consent)                        By: /s/Jill S. Vorobiev____
         One of Its Attorneys                                One of Its Attorneys

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Dated: 11/4/2022_______________          Dated: 11/7/2022__________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2022, the foregoing Joint Stipulation of Dismissal

with Prejudice was filed through the Court’s CM/ECF system, which will send notification of

such filing to all counsel of record at their e-mail addresses on file with the Court.


                                                              s/Jill S. Vorobiev____________
                                                               Jill S. Vorobiev

                                                              One of the Attorneys for Defendant
                                                               Health Care Service Corporation
                                                               d/b/a Blue Cross Blue Shield of
                                                               Illinois




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